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Case No. 1:23-mj-00104-NRN

United States District Court
Violation Notice (Rev. 1/2020)

 

Location Code [ Violation Number Officer Name (Print) Officer No

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YOU ARE CHARGED WITH THE FOLLOWING VIOLATION

Date and Time of Offense (mmvddiyyyy) | Offense Charged @CFR OUSC 0 State Code

o4/e1/,02> o0:20 | 36 CAR 1,23 B()

 

 

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Place of Offense Rm ROCK OR AslEe 1/7

Offense Description: Factual Basis for Charge TRDMAT 2
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DEFENDANT INFORMATION }
Last Name

  

 

 

 

 

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_ APPEARANCE ISREQUIRED | APPEARANCE IS OPTIONAL

A [Rif Box A is checked, you must

appear in court. See

instructions.

PAY THIS AMOUNT AT °
www.cvb.uscourts.gov $ Total Collateral Due
YOUR COURT DATE
(no court appearance date is shown, you will be notified of your a: jarance date by mail.)

Court Address Date

Time

 

 

My signature signifies that | have received a copy of this violation notice. It is not an admession of guilt. |
Promise to appear for the hearing at the time and placa instructed or in lieu of appearance pay the total
coltateral due.

X Defendant Signature
Orginal - CVB Copy

 

*E1/738949*

Document 1 filed 06/06/23 USDC Colorado pgiof8

STATEMENT OF PROBABLE CAUSE
(For issuance of an arrest warrant or summons)

| state that on , 20 while exercising my duties as a
taw enforcement officer in the District of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The foregoing statement is based upon:
my personal observation my personal investigation
information supplied to me from my fellow officer's observation
other (explain above)
declare under penalty of perjury that the information which I have set forth above and on the
Of this viotation notice is true and correct to the best of my knowledge.

NVOS SAD

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Date (mmidd/yyyy) Officer's Signature

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oo robable cause has been stated for the issuance of a warrant.

Executed on:

 

Date (mmidd/yyyy) U.S. Magistrate Judge

HAZMAT = Hazardous material involved in incident; PASS = 9 or more passenger vehicle;
CDL = Commercial drivers license; CMV = Commercial vehicle involved in incident

 

 
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Case No. 1:23-mj-00104-NRN Document 1 filed 06/06/23 USDC Colorado pg 20

STATEMENT OF PROBABLE CAUSE
(For issuance of an arrest warrant or summons)

| state that on April 01, 2023 while exercising my duties as a law enforcement officer in the MESA District of Colorado

At approximately 00:20 hours Dispatch reported a crash that had occurred near Rim Rock Drive mile 19, within the boundaries of
Colorado National Monument. Deputies from the Mesa County Sheriff's Office and an ambulance from Grand Junction Fire Department
arrived before | did. | was directed to the ambulance where two female subjects were being treated for minor injuries. | identified one
subject by her CO license as Neha GOKIDI. GOKIDI said she had been driving the vehicle (later identified by CO plate ASHI71) when the
curve “took us by blindside." GOKIDI said, "we tried to curve it..and it just ran off." She could not tell me whether they drove off the left
or right side of the road. GOKIDI said that she had consumed a Truly brand alcoholic beverage earlier in the evening. | conducted
Standard Field Sobriety Tests on GOKID!. She had 3 clues on Horizontal Gaze Nystagmous, with a decision point of 4. She had 2 clues
on Walk and Turn, with a decision point of 2. She alse had to be told the directions for-the Starting position several times, and confused
her left and right feet twice while getting into position, She had 7 clue on One Leg Stand, with a decision point of 2. | arrested GOKID|
and she submitted to an Evidencial Breath Alcohol Test on the Intoxilyzer 9000. After her first breath, the intoxilyzer reported there was
an interferent, indicating that GOKID| had some other chemical intoxicant besides alcohol alone. She consented to a blood draw, which
was performed at St. Mary's. The results are pending. While investigating the crash site, Officer Frank Hayde found a bottle of Andre
brand peach champagne with partial contents near the vehicle. | found a plastic cork matching this brand in the vehicle. | cited GOKIDI
for violation of 36 CFR 4.23(a)(1); operating under the influence of alcohol or drugs.

OFFICER - NELB, #11414
CASE # - NP23081035

The foregoing statement is based upon:

ft my personal observation (Xf my personal investigation
[-] | information supplied to me from my fellow officer's observation

[] _ other (explain above)

| declare under penaity of perjury that the information which | have set forth above and on the face of this violation notice is true and
correct to the best of my knowledge,

Executed on: //
O1/1 7/2023 cK, gee
Date (mm/dd/yyyy) Officer's Signature
Probable cause has been stated for the issuance of a warrant,

Executed_on:

 

Date (mm/dd/yyyy) U.S. Magistrate sudge

HAZMAT = Hazardous material involved in incident, PASS = 9 or more passenger vehicle,
CDi. = Commercial driver's license, CMV = Commercial vehicle involved in incident.

 

 

 
Case No. 1:23-mj-00104-NRN Document 1 filed 06/06/23 USDC Colorado pg 3of8

 

United States District Court STATEMENT OF PROBABLE CAUSE
Violation Notice (Rev. 1/2020) (For issuance of an arrest warrant or summons)
Location Code | Violation Number Officer Name (Print) OfficerNo
| state that on , 20 while exercising my duties as a
33 E1738950 MER Hey law enforcement officer in the District of

 

 

 

 

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
Data and Time of Offense (mmi/dd/yyyy) | Offense Charged Q@CFR USC 0 State Coda

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DEFENDANT INFORMATION
Last Name

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> > other (explain above)
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> www.cvb.uscourts.gov — Place of this violation notice is true and correct to the best of my knowledge.
nN RS
= YOUR COURT DATE =
NS date wil be of ReExecuted on
S o Date (mmidd/yyyy) Officer's Signature
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oO Time op Mbabie cause has been stated for the issuance of a warrant.
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One te Oe te Tre ocr cared 2 copy ofthis vickebon notice a ee are non of uit Executed on:

enone coring at Place instructed or in lieu of appearance pay Date (mmidd/yyyy) U.S. Magistrate Judge

X Oefendant Signature

J aaante was 98t) (6A8S Ud) (kuin ee BL al ~S*~=~C~*=‘“‘=CS*S HAZMAT = Hazardous material involved in incident, PASS = 9 or more passenger vehicle:
Original - CVB Copy ate COL = Commercial drivers license; CMV = Commercial vehicle involved in incident

*E1738950*

 

 

 
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Case No. 1:23-mj-00104-NRN Document 1 filed 06/06/23 USDC Colorado pg 4of8

STATEMENT OF PROBABLE CAUSE
(For issuance of an arrest warrant or summons)

| state that on April 01, 2023 while exercising my duties as a law enforcement officer in the MESA District of Colorado

At approximately 00:20 hours Dispatch reported a crash that had occurred near Rim Rock Drive mile 19, within the boundaries of
Colorado National Monument, Deputies from the Mesa County Sheriff's Office and an ambulance from Grand Junction Fire Department
arrived before i did. i was directed to the ambulance where two female subjects were being treated for minor injuries. | identified one
subject by her CO license as Neha GOKIDI, GOKIDI said she had been driving the vehicle (later identified by CO plate ASHI71) when the
curve “took us by blindside." GOKIDI said, "we tried to curve it..and it just ran off.” | located the vehicle at the first turn eastbound from
Cold Shivers. It had run off the left side of the road. Tire marks indicated that the vehicle had been traveling straight until it crossed the
center line into the westbound lane. The vehicle began to turn, but not enough to match the rightward bend in the road. The vehicle
was airborne after it left the road until it impacted several trees. | cited GOKID! with violation of 36 CER 4,22(b)(3), unsafe operation;
failure to maintain control necessary,

OFFICER - NELB, #1144
CASE # - NP23081035

The foregoing statement is based upon:

Ay my personal observation LX ss my personal investigation
[J _ information supplied to me from my fellow officer's observation

[J _ other (explain above)

| declare under penalty of perjury that the information which { have set forth above and on the face of this violation notice is true and
correct to the best of my knowledge.

Executed on: // OF J, a Z
I P/IOX3 J
Date (mm/dd/yyyy) Officer's Signature
Probable cause has been stated for the issuance of a warrant.

Executed on:

 

 

Date (mm/dd/yyyy) U.S. Magistrate Judge

HAZMAT « Hazardous material involved in incident, PASS = 9 or more passenger vehicle,
CDi =.Commercial driver's license, CMY = Commercial vehicle involved in incident.

 

 
Case No. 1:23-mj-00104-NRN Document 1 filed 06/06/23 USDC Colorado pg 5of8

 

 

United States District Court STATEMENT OF PROBABLE CAUSE
Violation Notice (Rev. 1/2020) ___ (For issuance of an arrest warrant or summons)
Location Code | Violaton Number Officer Name (Print) OficerNo
E | state that on , 20 while exercising my duties as a
38 1738958 MEU M4 law enforcement officer in the District of

 

 

 

 

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
Date and Time of Offense (mmidd/yyyy) {Offense Charged @CFR OUSC 2 State Code

O74 feifJarx 6:20 136 CFR 2Zi(adWKi)

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Offense Description: F actual Basis for Charge HAZMAT 2

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DEFENDANT INFORMATION fF

 

 

 

 

 

 

 

 

 

 

 

Tag No.

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8 instructions appeaNig court. See i i S _ information supplied to me from my fellow officer's observation
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> www.cvb.uscourts.gov Total Colla’ piace of this violation notice is true and correct to the best of my knowledge.
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promise B appear for jearing at the time and place instructed or in Keu of appearance pay the total Date (mm/dd/yyyy) U.S. Magistrate Judge
X Defenda
nt Signature "| neue Gin) line lamea lens hun ima kus a enn HAZMAT = Hazardous matenal involved in incident, PASS = 9 or more passenger vehicle;

Original - CVB Copy | a CDL = Commercial drivers license: CMV = Commercial vehicie involved in incident

*E1738958*

 

 
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Case No. 1:23-mj-00104-NRN Document 1 filed 06/06/23 USDC Colorado pg6o

STATEMENT OF PROBABLE CAUSE
(For issuance of an arrest warrant or summons)
| state that on April 01, 2023 while exercising my duties as a law enforcement officer in the MESA District of Colorado

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Colorado National Monument, Deputies from the Mesa County Sheriff's Office and an ambulance from Grand Junction Fire Department
arrived before | did. | was directed to the ambulance where two female su bjects were being treated for minor injuries. | identified one
subject by her CO license as Neha GOKIDI. GOKIDI said she had been driving the vehicle (later identified by CO plate ASHI71) when the
curve "took us by blindside." GOKID! said, "we tried to curve it...and it just ran off." | located the vehicle at the first turn eastbound from
Cold Shivers. It had run off the left side of the road. The vehicle was airborne after it left the road until it impacted two large juniper
trees. The trees were killed; they were uprooted and had branches sheared off from impact. | cited GOKIDI with violation of 36 CFR 2.1
(a)(1)(ii); destruction of plants or parts of plants.

OFFICER - NELB, #1141
CASE # - NP23081035

The foregoing statement is based upon:

eI my personal observation [St my personal investigation
[J _ information supplied to me from my fellow officer's observation

[J] _ other (explain above)

| declare under penalty of perjury that the information which | have set forth above and on the face of this violation notice is true and
correct to the best of my knowledge.

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Executed on: ,
! 04/17/2923 dee. bec fL0
Date (mmydd/yyyy) Officer's Signature
Probable cause has been stated for the issuance of a warrant.

Executed on:

 

Date (mm/dd/yyyy) U.S. Magistrate Judge

HAZMAT = Hazardous material: involved in incident, PASS = 9 or more passenger vehicle,
CDL = Commercial driver's license, CMV = Commercial vehicle involved in incident.

 

 

 
Case No. 1:23-mj-00104-NRN Document 1 filed 06/06/23 USDC Colorado pg 7 of8

 

United States District Court STATEMENT OF PROBABLE CAUSE
on Code | Vrtaton Omesr Name (Print) Omen Noe | state that on 20 while exercising my duties as a
4% E1738959 /VELR [i- law enforcement officer in the District of

 

 

 

 

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
Date and Time of Offense (mavddiyyyy) Offense Charged @CFR OUSC 0 State Code
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Offense Description: Factual Basis for Charge HAZMAT GO
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DEFENDANT INFORMATION ff

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
    

     

 

 

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9 APPEARANCE IS REQUIRED APPEARANCE IS OPTIONAL o The foregoing statement is based upon:
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& instructions. g information supplied to me from my fellow officer's observation
> > other (explain above)
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> www.cvb.uscourts.gov —4 }2face of this violation notice is tue and correct to the best of my knowledge.
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S Court Address © ( ice’ ignature
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o oo robable cause has been stated for the issuance of a warrant.
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eee for the hearing al the time and piace instructed or in lieu of appearance pay the total Date (mmiddiyyyy) US Magistrate Judge

X Defendant Signature HAZMAT = Hazardous material involved in incident: ; PASS = 9 or more passenger vehicte;
Onginal - CVB Copy {GOO a a CDL = Commercial drivers license; CMV = Commercial vehicte involved in incident

*E1738959*

 

 

 
Case No. 1:23-mj-00104-NRN Document 1 filed 06/06/23 USDC Colorado pg 8ots

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STATEMENT OF PROBABLE CAUSE
(For issuance of an arrest warrant or summons)

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subject by her CO license as Neha GOKIDI. GOKIDI said she had been driving the vehicle (later identified by CO plate ASHI71) when the
curve "took us by blindside." GOKIDI said, "we tried to curve it...and it just ran off." | located the vehicle at the first turn eastbound from
Cold Shivers. It had run off the left side of the road, The driver's side door was open, On the driver's side floorboard was a plastic top to
a bottle, with no bottle present. Officer Frank Hayde found a bottle of Andre brand peach champagne approximately 50 feet from the
crash, It still had partial contents inside. The bottle was missing a top. The bottle had not been on the ground jong; it was not dirty or
sunk into the soil. The top that i had seen in the car matched the Andre bottle. | retrieved the top and noted that it smelled of peaches.
| cited GOKIDI with violation of 36 CER 4,14(b); open container of alcoholic beverage.

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OFFICER - NELB, #1141
CASE # - NP23081035

 

The foregoing statement is based upon:

ar my personal observation [St my personal investigation
(] information supplied to me from my fellow officer's observation

[7] other (explain above)

| declare under penaity of perjury that the information which | have set forth above and on the face of this violation notice is true and
correct to the best of my knowledge.

Executed on: // a. LE
Date (mm/dd/yyyy) Officer's Signature
Probable cause has been stated for the issuance of a warrant.

‘Executed on:

 

Date (mm/dd/yyyy) U.S. Magistrate Judge

HAZMAT = Hazardous material involved in incident, PASS = 9 or more passenger vehicle,
CDL = Commercial driver's license, CMV = Commercial vehicle involved in incident.

 

 
